        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 1 of 22



                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


THE ESTATE OF BRUCE BROCKEL,
Deceased, by and through DONNA
BROCKEL, as Personal Representative,
                                                    Case No.: 17-CV-521
       Plaintiff,
                                                    Action Filed: October 25, 2017
vs.                                                 Action Served: October 30, 2017

JOHN PATRICK COUCH, RASSAN M.
TARABEIN, PHYSICIANS PAIN
SPECIALISTS OF ALABAMA, P.C.,
C&R PHARMACY, LLC,
EASTERN SHORE NEUROLOGY
CLINIC, INC.,
PURDUE PHARMA L.P.,
PFIZER INC.,
ENDO PHARMACEUTICALS INC.,
ENDO INTERNATIONAL PLC,
KVK-TECH, INC., ZYDUS
PHARMACEUTICALS (USA) INC.,
A, B, C, D, E, F, G, H, I, and J

       Defendants.



           DEFENDANT PURDUE PHARMA L.P.’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Purdue Pharma L.P.

(“Purdue”) hereby gives notice of removal of this action, captioned The Estate of Bruce Brockel

v. John Patrick Couch et al., bearing case number 02-CV-2017-902787.00, from the Circuit Court

of Mobile County, Alabama, to the United States District Court for the Southern District of

Alabama. Pursuant to 28 U.S.C. § 1446(a), Purdue provides the following statement of the

grounds for removal:
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 2 of 22



                                         BACKGROUND

       1.      On October 25, 2017, Plaintiff, the Estate of Brockel, deceased, by and through

Donna Brockel, as personal representative, filed a Complaint (attached hereto as Exhibit 1) in

the Circuit Court of Mobile County, Alabama, against the following defendants, as well as

unnamed, unidentified Doe defendants:

               a.        “Provider Defendants” — John Patrick Couch; Rassan M. Tarabein;

Physicians Pain Specialists of Alabama P.C.; C&R Pharmacy, LLC; and Eastern Shore

Neurology Clinic, Inc.

               b.        “Manufacturer Defendants” — Endo Pharmaceuticals Inc.; Endo

International plc;1 Purdue Pharma L.P.; Pfizer Inc.; KVK-Tech, Inc.; and Zydus Pharmaceuticals

(USA) Inc.

       2.      The thrust of the Complaint is that the two physician Provider Defendants, John

Patrick Couch and Rassan M. Tarabein, committed medical malpractice in treating decedent.

(Compl. ¶¶ 15-41.) Plaintiff alleges that Messrs. Couch and Tarabein treated decedent for many

years for injuries arising from a car accident (id. ¶¶ 15-23); that decedent committed suicide “due

to” Messrs. Couch and Tarabein having “overprescribe[ed] . . . drugs” to decedent and

“abrupt[ly] stopp[ed] . . . treatment without proper detoxification” (id. ¶ 35); and that decedent’s

medical treatment “did not meet the applicable standard of care” because, among other things,

the two doctors “prescrib[ed] drugs . . . without medical necessity/justification” and conducted

“unnecessary procedures” (id. ¶ 40). The remaining Provider Defendants—Physicians Pain

Specialists of Alabama P.C.; C&R Pharmacy, LLC; and Eastern Shore Neurology Clinic, Inc.—


1
  Endo International plc is not a proper party to this action and expressly reserves all available
defenses, including without limitation defenses regarding service of process and personal
jurisdiction.



                                                 2
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 3 of 22



are businesses at which decedent allegedly received medical treatment or medication while under

the care of Messrs. Couch and Tarabein. (Id. ¶¶ 5-7, 18, 21, 23.) The Provider Defendants are

citizens of Alabama. (Id. ¶¶ 3-7.) See Zaccone v. Ford Motor Co., 2015 WL 13554989, at *1

(M.D. Fla. Aug. 6, 2015) (“A prisoner’s citizenship is not determined by his place

of incarceration but rather his domicile prior to incarceration.”).

       3.      Plaintiff’s allegations against the Manufacturer Defendants are entirely different

and rely upon different alleged conduct. This is underscored by the fact that the Complaint’s

“Facts” section never mentions even a single Manufacturer Defendant, and exclusively alleges

facts related to the Provider Defendants. (Id. ¶¶ 15-38.)

       4.      Unlike the factual allegations against the Provider Defendants, which relate to the

propriety of medical treatment that decedent received, Plaintiff’s factual allegations against the

Manufacturer Defendants do not relate to decedent’s medical treatment. Instead, Plaintiff alleges

that the Manufacturer Defendants “exaggerated the benefits of” their FDA-approved prescription

opioid medications and “failed to warn doctors and others” of the “addictive nature of” these

products. (Id. ¶ 56.) Plaintiff further alleges that the Manufacturer Defendants “lobbied

politicians and doctors in an effort to artificially increase the use of opioids, and willfully

allowed the drugs to enter the black market.” (Id. ¶ 57.) All of the Manufacturer Defendants are

citizens of states or foreign states other than Alabama.

       5.      The Complaint asserts eight causes of action against “all Defendants”:

(1) negligence; (2) wantonness; (3) “Alabama Extended Manufacturer’s Liability Doctrine”;

(4) fraud and misrepresentation; (5) suppression and concealment; (6) deceit;

(7) unjust enrichment; and (8) civil conspiracy. (Id. ¶¶ 42-71.) In addition, the Complaint

asserts a medical malpractice claim against Messrs. Couch and Tarabein only. (Id. ¶¶ 39-41.)




                                                   3
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 4 of 22



       6.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served on Purdue are attached hereto as Exhibit 1. A copy of the state court docket and all

documents filed in the state court action (other than the Complaint) is attached hereto as

Exhibit 2.

       7.      Opioid-related cases involving claims similar to this one are currently pending in

many different federal courts across the county. On November 30, 2017, the Judicial Panel on

Multidistrict Litigation will hear a motion, supported by several Manufacturer Defendants here,

requesting the creation of a multidistrict litigation (“MDL”). See In re National Prescription

Opiate Litig., MDL No. 2804 (J.P.M.L.).

                                 VENUE AND JURISDICTION

       8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 81(c)(2), 1391, 1441(a),

and 1446(a) because the Circuit Court for Mobile County, Alabama, where the Complaint was

filed, is a state court within the Southern District of Alabama.

       9.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because

(1) there is complete diversity of citizenship between Plaintiff and all properly joined defendants;

(2) the amount in controversy exceeds $75,000, exclusive of interests and costs; and (3) all other

requirements for removal have been satisfied.


I.     THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN PLAINTIFF
       AND ALL PROPERLY JOINED DEFENDANTS

       10.     There is complete diversity of citizenship here because Plaintiff is an Alabama

citizen and all of the Manufacturer Defendants are citizens of states or foreign states other than

Alabama, see Part I.A infra; the citizenship of Doe Defendants is ignored for purposes of

diversity jurisdiction, see Part I.B infra; and the citizenship of the Provider Defendants is




                                                  4
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 5 of 22



irrelevant for purposes of diversity jurisdiction because they are subject to severance under

Federal Rule of Civil Procedure 21 and the procedural misjoinder doctrine, see Part I.C infra.


       A.      Plaintiff Is Diverse from the Manufacturer Defendants

               1.      Plaintiff Is a Citizen of Alabama

       11.     Plaintiff Donna Brockel represents the Estate of Bruce Brockel. (Compl. ¶ 1.)

“[T]he legal representative of the estate of a decedent shall be deemed to be a citizen only of the

same State as the decedent.” 28 U.S.C. § 1332(c)(2). While decedent’s citizenship is not alleged

in the Complaint, Plaintiff alleges that decedent moved to Alabama in 2010 (Compl. ¶ 17),

received years of medical treatment in Alabama starting in February 2011 and continuing until

his death (id. ¶¶ 18, 23), and died in Alabama (id. ¶ 35). Based on the allegations in the

Complaint, and on information and belief, decedent was a citizen of Alabama. Thus, Plaintiff is

a citizen of Alabama. See 28 U.S.C. § 1332(c)(2).

               2.      None of the Manufacturer Defendants Are Citizens of Alabama

       12.     For purposes of diversity jurisdiction, a corporation is “a citizen of every State

and foreign state by which it has been incorporated and of the State or foreign state where it has

its principal place of business[.]” 28 U.S.C. § 1332(c)(1). A partnership is a citizen of every

state in which its partners are citizens. See Americold Realty Tr. v. Conagra Foods, Inc., 136 S.

Ct. 1012, 1015 (2016); Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d

1020, 1021 (11th Cir. 2004).

       13.     Applying these principles, none of the Manufacturer Defendants are citizens of

Alabama.

       14.     Defendant Endo Pharmaceuticals Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Malvern, Pennsylvania. (Compl. ¶ 10.)



                                                 5
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 6 of 22



       15.        Defendant Endo International plc is a corporation organized under the laws of

Ireland with its principal place of business in Dublin, Ireland. (Id. ¶ 11.)

       16.        Defendant Purdue Pharma L.P. is a limited partnership organized under the laws

of Delaware with its principal place of business in Stamford, Connecticut. (See id. ¶ 8.) Its

general partner is Purdue Pharma Inc., and the limited partnership interest is held 100% by

Purdue Holdings L.P. Purdue Pharma Inc. is a New York corporation with its principal place of

business in Stamford, Connecticut. Purdue Holdings L.P. is a Delaware limited partnership with

its principal place of business in Connecticut. Thus, none of Purdue Pharma L.P.’s partners are

citizens of Alabama.

       17.        Defendant Pfizer Inc. is a corporation organized under the laws of Delaware with

its principal place of business in New York. (Id. ¶ 9.)

       18.        Defendant KVK-Tech, Inc. is a corporation organized under the laws of

Pennsylvania with its principal place of business in Pennsylvania. (Id. ¶ 12.)

       19.        Defendant Zydus Pharmaceuticals (USA) Inc. is a corporation organized under

the laws of Delaware with its principal place of business in New Jersey. (Id. ¶ 13.)

       20.        Accordingly, all of the Manufacturer Defendants are citizens of a state or foreign

state other than Alabama.

       B.         The Citizenship of Doe Defendants Should Be Ignored

       21.        The citizenship of the unnamed, unidentified Doe Defendants should be ignored

for purposes of determining whether this action is removable based on diversity of citizenship.

See 28 U.S.C. § 1441(b)(1) (“In determining whether a civil action is removable on the basis of

[diversity of citizenship], the citizenship of defendants sued under fictitious names shall be

disregarded.”).




                                                   6
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 7 of 22



       C.      The Citizenship of the Provider Defendants Should Be Ignored

               1.      The Provider Defendants Should Be Severed Under Rule 21

       22.     Even where the face of a complaint shows a lack of complete diversity, removal

based on diversity jurisdiction is nonetheless proper if the claims against the non-diverse

defendants are severable under Federal Rule of Civil Procedure 21. Defendants are severable

under Rule 21 if they are either unnecessary or dispensable under Rule 19, or if the claims

against them are sufficiently distinct from claims against other defendants under Rule 20. Here,

the Provider Defendants should be severed on both grounds, each of which preserves diversity

jurisdiction as to the Manufacturer Defendants.

       23.     “It is firmly established that Rule 21 ‘invests district courts with authority to

allow a dispensable nondiverse party to be dropped at any time,’ such as when necessary to

establish federal subject-matter jurisdiction.” Payroll Mgmt., Inc. v. Lexington Ins. Co., 815 F.

3d 1293, 1298 n.8 (11th Cir. 2016) (quoting Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S.

826, 832 (1989)). Under Rule 21, a district court may “dismiss a nondiverse dispensable

defendant from an action initially brought in federal court under the pretense of diversity of

citizenship grounds, in order to perfect diversity.” Byrd v. Howse Implement Co., 227 F.R.D.

692, 694 (M.D. Ala. 2005) (citing Anderson v. Moorer, 372 F.2d 747, 750 n.4 (5th Cir. 1967))

(emphasis in original).2 And it is proper for courts to do so when cases are removed from state

court. E.g., Clements v. Essex Ins. Co., 2016 WL 3144151, at *3 (M.D. Fla. June 6, 2016)




2
  In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down prior
to October 1, 1981.



                                                  7
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 8 of 22



(severing dispensable, non-diverse defendant and denying remand following removal, explaining

that severance of the non-diverse defendant “preserves the Court’s diversity jurisdiction”).3

       24.     Joseph v. Baxter Int’l, Inc., 614 F. Supp. 2d 868 (N.D. Ohio 2009) is particularly

instructive. There, the plaintiffs, citizens of Louisiana, brought a products liability action against

the out-of-state manufacturer of the drug Heparin. Id. at 870. Before the case was removed, the

plaintiffs amended their complaint to add as defendants various healthcare provider companies,

which were citizens of Louisiana and therefore non-diverse, alleging that they engaged in

“negligent acts and omissions in the administration of Heparin.” Id. at 871. Despite the addition

of these non-diverse healthcare provider defendants, the district court denied remand as to the

diverse manufacturer defendant. The court reasoned that the healthcare provider defendants

were “not necessary parties as the resolution of a claim against them would not necessarily

resolve the [plaintiffs’] claim against [the manufacturer]”; the medical malpractice claims against

the healthcare providers “differ from the [plaintiffs’] products liability claim” against the

manufacturer. Id. at 872. And, the court explained, the healthcare provider defendants were

dispensable because the plaintiffs “retain an adequate remedy against the Healthcare Defendants

as they can proceed with their claims in state court.” Id. at 873. Given the separate factual basis

for plaintiffs’ medical malpractice claims against the healthcare providers, the court found that it

could “sever them from the claims against [the manufacturer], and in doing so, perfect diversity

jurisdiction over [the manufacturer].” Id. at 874.

       25.     Numerous other courts have followed the same approach. See, e.g., Sullivan v.

Calvert Mem’l Hosp., 117 F. Supp. 3d 702, 707 (D. Md. 2015); McElroy v. Hamilton Cty. Bd. of

Educ., 2012 WL 12871469, at *2-3 (E.D. Tenn. Dec. 20, 2012); Mayfield v. London Women’s
3
  Pursuant to S.D. Ala. CivLR 7(f)(2), copies of all cited judicial opinions that are not available
in a publicly accessible electronic database are attached hereto as Exhibit 3.



                                                  8
        Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 9 of 22



Care, PLLC, 2015 WL 3440492, at *5 (E.D. Ky. May 28, 2015); Loeffelbein v. Milberg Weiss

Bershad Hynes & Lerach, LLP, 2003 WL 21313957, at *5-6 (D. Kan. May 23, 2003); Sutton v.

Davol, Inc., 251 F.R.D. 500, 505 (E.D. Cal. 2008); Greene v. Wyeth, 344 F. Supp. 2d 674, 683

(D. Nev. 2004).4

       26.     Likewise, this Court should sever the Provider Defendants and deny remand as to

the Manufacturer Defendants because the Provider Defendants are both unnecessary and

dispensable. Alleged joint tortfeasors like the Provider Defendants are unnecessary parties as a

matter of settled law. See Temple v. Synthes Corp., Ltd., 498 U.S. 5, 7-8 (1990) (holding that

joint tortfeasors are not necessary parties under Rule 19); Lyons v. O'Quinn, 607 F. App’x 931,

934 (11th Cir. 2015) (“[W]here joint tortfeasors may be jointly and severally liable, neither

tortfeasor is an indispensable party.”) (collecting cases).

       27.     Moreover, just like Baxter (and many other cases), where the plaintiff’s claims

against the diverse drug manufacturer and non-diverse healthcare providers were factually

distinct, here Plaintiff’s claims against the Manufacturer Defendants are factually distinct from

those against the Provider Defendants. Specifically, Plaintiff alleges that the Manufacturer

Defendants misrepresented the risks and benefits of FDA-approved prescription opioid

medications. (Compl. ¶ 56.) By contrast, Plaintiff alleges that the Provider Defendants’

treatment of decedent fell below the standard of care. (Id. ¶¶ 15-41.) There is no overlap

between the factual allegations against the Manufacturer Defendants and the Provider



4
  See also Kelly v. Aultman Physician Ctr., 2013 WL 2358583, at *3 (N.D. Ohio May 29, 2013)
(severing non-diverse healthcare provider defendants and thus denying remand as to diverse
manufacturer defendants); DeGidio v. Centocor, Inc., 2009 WL 1867676, at *3-4 (N.D. Ohio
July 8, 2009) (same); Lucas v. Springhill Hosps., Inc., 2009 WL 1652155, at *2 (N.D. Ohio June
11, 2009) (denying motion to remand following severance of non-diverse defendants by Judicial
Panel on Multidistrict Litigation).



                                                  9
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 10 of 22



Defendants that would make the Provider Defendants necessary or indispensable parties under

Rule 19.

       28.     Beyond Rule 19, the claims against the Provider Defendants are also misjoined

under Rule 20, which provides a distinct basis for severance. Rule 21 permits severance of

claims against non-diverse defendants that do not “aris[e] out of the same transaction,

occurrence, or series of transactions or occurrences” as the claims against the Manufacturer

Defendants. Fed. R. Civ. P. 20(a)(1)(A); see Loeffelbein, 2003 WL 21313957, at *5 (“Rule 21 is

a mechanism for correcting . . . the misjoinder . . . of parties or claims” which “arises when the

claims and parties fail to satisfy any of the conditions of permissive joinder under Rule 20(a).”

(citation omitted)). Courts in this Circuit and other circuits have repeatedly denied remand as to

diverse defendants and severed claims against non-diverse defendants where the claims against

the non-diverse defendants were separate and distinct, and arose from different transactions or

occurrences. See, e.g., Anderson v. State Farm Mut. Auto. Ins. Co., 2008 WL 11366408, at *3

(N.D. Fla. Nov. 10, 2008) (severing misjoined non-diverse defendants and denying remand as to

diverse defendants, holding that, even though the claims against the diverse and non-diverse

defendants “seek to recover for all or part of the same underlying loss[,]” the claims were

nevertheless misjoined because they were “wholly distinct”).5



5
  See also, e.g., Loeffelbein, 2003 WL 21313957, at *6 (severing non-diverse defendant and
denying remand as to diverse defendants; “[w]hile plaintiffs do not distinguish between each of
the defendants in the individual counts of the petition, the counts clearly arise from two different
sets of facts”); Sutton, 251 F.R.D. at 502-05; Greene, 344 F. Supp. 2d at 683; DirecTV, Inc. v.
Beecher, 296 F. Supp. 2d 937, 945 (S.D. Ind. 2003) (severing misjoined claims under Rule 21
where plaintiff “allege[d] that many individuals have wronged it in the same way, but in separate
transactions or occurrences”); Randleel v. Pizza Hut of Am., Inc., 182 F.R.D. 542, 543 (N.D. Ill.
1998) (severing misjoined claims where “the factual scenarios underlying each incident are
different, the times are different, and the people involved are different” (footnote omitted)).




                                                 10
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 11 of 22



       29.     For example, the district court in In re Stryker Rejuvenate & AGB II Hip Implant

Prods. Liab. Litig. held that a plaintiff’s medical malpractice claims against the hospital where

the plaintiff had hip surgery were not properly joined with product liability claims against the

manufacturer of the hip implant provided during the surgery. 2013 WL 6511855, at *4 (D.

Minn. Dec. 12, 2013). Although there was only one surgical procedure involving the allegedly

defective implant, the plaintiff’s claims did not arise from the same transaction or occurrence:

       With respect to any medical negligence . . . claims that Plaintiff may assert
       against the Hospital Defendants or its employees, such claims require evidence
       regarding Plaintiff’s care, treatment, and services provided by the Hospital
       Defendants and their staff, and representations made related thereto. Plaintiff’s
       claims against the Stryker entities, on the other hand, are based on alleged
       manufacturing and design defects associated with certain medical
       devices. Claims against the Stryker entities will require evidence as to the
       development, manufacture, and testing of such devices as well as the Stryker
       entities’ knowledge, warnings, and disclosures regarding risks associated with its
       purportedly defective hip replacement products. Any liability that may be found
       against either the Stryker entities or the Hospital Defendants would not be a basis
       for liability as to the other. . . .

Id.; see also DeGidio, 2009 WL 1867676, at *2-5 (contrasting medical negligence and product

liability claims); In re Guidant Corp. Implantable Defibrillators Prods. Liab. Litig., 2007 WL

2572048, at *2 (D. Minn. Aug. 30, 2007) (same). Because the plaintiff’s medical malpractice

and product liability claims did not arise from the same transaction or occurrence, the court

severed and remanded the medical malpractice claims (as to which diversity was lacking) and

retained jurisdiction over the remaining product liability claims. See In re Stryker, 2013 WL

6511855, at *5. Because of the distinct factual underpinnings of the claims against the diverse

and non-diverse defendants here, these sets of claims cannot properly be joined together.

       30.     That Plaintiff asserts some causes of action against “all Defendants” changes

nothing. Severance is appropriate because the factual basis for Plaintiff’s claims against the

Manufacturer Defendants (alleged misrepresentations) is separate and distinct from the factual



                                                11
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 12 of 22



basis giving rise to Plaintiff’s claims against the Provider Defendants (alleged medical

malpractice). See Loeffelbein, 2003 WL 21313957, at *6 (“While plaintiffs do not distinguish

between each of the defendants in the individual counts of the petition, the counts clearly arise

from two different sets of facts.”); Nelson v. Aim Advisors, Inc., 2002 WL 442189, at *3 (S.D.

Ill. Mar. 8, 2002) (“Although Plaintiffs’ claims against all Defendants are pled under the same

legal theory, it is only in this abstract sense that Plaintiffs’ claims share anything in common . . .

[and] does not mean that there are common issues of law and fact sufficient to satisfy Rule

20(a).”). If Plaintiff truly wants to pursue claims against the Provider Defendants, Plaintiff has

an adequate remedy in state court. See Baxter, 614 F. Supp. 2d at 873.

       31.     While one judge in this District has found it improper to sever non-diverse

defendants under Rule 21 as a basis to retain diversity jurisdiction over diverse defendants after

removal, see Brown v. Endo Pharmaceuticals, Inc., 38 F. Supp. 3d 1312, 1326-27 (S.D. Ala.

2014) (Steele, J.); Interior Cleaning Sys., LLC v. Crum, 2014 WL 3428932, at *5 n.10 (S.D. Ala.

July 14, 2014) (Steele, J.), other courts within this Circuit and other circuits have done so, supra.

Moreover, unlike in Brown and Crum, where there were no efficiencies to be gained from having

the parties to the federal action participate in coordinated MDL proceedings, here the Judicial

Panel on Multidistrict Litigation will hear a motion on November 30, 2017, to create an MDL,

and courts have repeatedly held that severance of non-diverse defendants is particularly

appropriate where it will permit the parties in federal court to benefit from the efficiencies of an

MDL. See, e.g., Cooke-Bates v. Bayer Corp., 2010 WL 3984830, at *4 (E.D. Va. Oct. 8, 2010).

certificate of appealability denied, 2010 WL 4789838 (E.D. Va. Nov. 16, 2010); Sullivan, 117 F.

Supp. 3d at 707; Sutton, 251 F.R.D. at 505; Baxter, 614 F. Supp. 2d at 872; Mayfield, 2015 WL

3440492, at *5.




                                                  12
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 13 of 22



               2.      The Provider Defendants Are Also Fraudulently Misjoined

       32.     The citizenship of the Provider Defendants alternatively should be ignored

because the claims against them are fraudulently misjoined in this action. Fraudulent misjoinder,

also called procedural misjoinder, “refers to the joining of claims into one suit in order to defeat

diversity jurisdiction where in reality there is no sufficient factual nexus among the claims to

satisfy the permissive joinder standard.” Reed v. Am. Med. Sec. Grp., Inc., 324 F. Supp. 2d 798,

803 n.8 (S.D. Miss. 2004) (citation and internal quotation marks omitted).

       33.     The Eleventh Circuit has adopted the fraudulent misjoinder doctrine and held that

“[a] defendant’s ‘right of removal cannot be defeated by a fraudulent joinder of a resident

defendant having no real connection with the controversy.’” Tapscott v. MS Dealer Serv. Corp.,

77 F.3d 1353, 1360 (11th Cir. 1996) (quoting Wilson v. Republic Iron & Steel Co., 257 U.S. 92,

97 (1921)), abrogated on another ground in Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th

Cir. 2000). District courts in this Circuit have applied Tapscott and explained that “federal

courts may disregard citizenship of resident parties and sever and remand their claims when the

factual nexus between these claims and claims of the diverse parties is so lacking as to render

joinder under Federal Rule of Civil Procedure 20 nothing but an attempt to avoid federal

jurisdiction.” M.W. v. Ford Motor. Co., 2015 WL 1311029, at *4 (M.D. Fla. Mar. 24, 2015)

(claims against non-diverse defendants were fraudulently misjoined where “[p]laintiffs do not

satisfy the permissive joinder requirements of Federal Rule of Civil Procedure 20(a)(2)”) (citing

In re Trasylol Prods. Liab. Litig., 754 F. Supp. 2d 1331, 1335 (S.D. Fla. 2010)).

       34.     Notably, in opioid-related cases like this one, federal district courts recently relied

on the fraudulent misjoinder doctrine to ignore the citizenship of non-diverse defendants and

deny remand based on diversity jurisdiction. See Cty. Comm’n of McDowell Cty. v. McKesson




                                                 13
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 14 of 22



Corp., 2017 WL 2843614, at *5 (S.D. W. Va. July 3, 2017); City of Huntington v.

AmerisourceBergen Drug Corp., 2017 WL 3317300, at *4-5 (S.D. W. Va. Aug. 3, 2017). In

McKesson Corp., the plaintiff filed suit in state court against diverse distributors of opioid

products for allegedly “flood[ing] McDowell County with opioids well beyond what was

necessary to address pain and other [legitimate] reasons,” and also against a non-diverse doctor

for allegedly “provid[ing] written opioid prescriptions for patients, knowing that the drugs were

likely to be abused, diverted or misused.” 2017 WL 2843614, at *1. The court found that these

claims were fraudulently misjoined and accordingly denied remand because “plaintiff’s claims

against the [distributors] and the claims against [the doctor]” lacked “common questions of law

or fact” and were “separate and distinct.” Id. at *5. In City of Huntington, the court reached the

same conclusion for substantially the same reasons. 2017 WL 3317300, at *5 (claims against

diverse and non-diverse defendants were “separate and distinct”).

       35.     Even if the Court finds that the Provider Defendants are not dispensable parties

subject to severance, it should find the claims against them misjoined under the fraudulent

misjoinder doctrine.

       36.     In sum, because Plaintiff is an Alabama citizen, and because none of the properly

joined Defendants are Alabama citizens, there is complete diversity of citizenship. See 28

U.S.C. § 1332(a).


II.    THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

       37.     “[A] defendant’s notice of removal need include only a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating

Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014). “[W]hen a defendant seeks federal-court

adjudication, the defendant’s amount-in-controversy allegation should be accepted when not



                                                 14
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 15 of 22



contested by the plaintiff or questioned by the court.” Id. at 553. In determining whether the

amount in controversy is satisfied, the Court may consider compensatory and statutory damages,

as well as punitive damages. See Holley Equip. Co. v. Credit All. Corp., 821 F.2d 1531, 1535

(11th Cir. 1987).

       38.     Where, as here, the complaint does not establish a specific amount-in-

controversy, “it may be facially apparent from the pleading itself that the amount in controversy

exceeds the jurisdictional minimum[.]” Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1061 (11th

Cir. 2010) (citation and internal quotation marks omitted). District courts should not “suspend

reality or shelve common sense” in determining whether the amount-in-controversy is satisfied.

Id. at 1062 (quotation marks omitted). Instead, courts should “use their judicial experience and

common sense in determining whether the case stated in a complaint meets federal jurisdictional

requirements.” Id. (footnote omitted).

       39.     Plaintiff brings this action under Alabama’s wrongful death statute (Compl. ¶ 38),

and courts have repeatedly held that Alabama wrongful death cases like this one satisfy the

amount-in-controversy requirement. See, e.g., Roe, 613 F.3d at 1066; Hale v. Cub Cadet, LLC,

2010 WL 4628135, at *3 (M.D. Ala. Nov. 8, 2010) (“[A]pplying common sense and drawing

reasonable inferences from the factual allegations of the Complaint” to determine that the

amount-in-controversy in an Alabama wrongful death case was satisfied); Nelson v. Whirlpool

Corp., 668 F. Supp. 2d 1368, 1375-76 (S.D. Ala. 2009) (holding amount-in-controversy

exceeded $75,000 and noting that it would “defy common sense” to insist that a wrongful death

suit “does not place more than $75,000 in controversy”). Moreover, Plaintiff seeks

compensatory and punitive damages (see “Wherefore” in Complaint under claims for

Wantonness, Fraud & Misrepresentation, Suppression & Concealment, Deceit, Unjust




                                                15
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 16 of 22



Enrichment, and Civil Conspiracy). It is thus clear that the amount-in-controversy exceeds

$75,000, exclusive of interest and costs.

III.   ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

       A.      The Notice of Removal Is Timely

       40.     This Notice of Removal is timely filed. Purdue received the Complaint through

service on October 30, 2017. Because Purdue filed the Notice of Removal on November 27,

2017, removal is timely. See 28 U.S.C. § 1446(b)(1).

       B.      All Properly Joined and Served Defendants Consent to Removal

       41.     For purposes of removal based on diversity jurisdiction under 28 U.S.C. § 1332(a)

and pursuant to 28 U.S.C. § 1446(b), all defendants who have been properly joined and served

must consent to removal.

       42.     The following properly joined and served Defendants consent to removal, as

indicated by their signing below: Pfizer Inc.; KVK Tech, Inc.; and Zydus Pharmaceuticals

(USA) Inc.

       43.     The following properly joined Defendant does not concede that it has been

properly served, and thus its consent to removal is not required: Endo Pharmaceuticals Inc.

Nevertheless, it consents to removal.

       44.     The following Defendant disputes that it has been properly joined and does not

concede that it has been properly served, and thus its consent to removal is not required: Endo

International plc. Nevertheless, it consents to removal (while reserving all rights).

       45.     The state court docket and all papers filed in the state court (Exhibit 2) do not

reflect proper service of the Complaint on any of the Provider Defendants other than Mr.

Tarabein. Because the Provider Defendants are not properly joined with the Manufacturer




                                                 16
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 17 of 22



Defendants, and because the Provider Defendants other than Mr. Tarabein have not been

properly served, their consent to removal is not required. See 28 U.S.C. § 1446(b)(2)(A).

        46.     By filing this Notice of Removal, neither Purdue nor any other Defendant waives

any defense that may be available to them and reserve all such defenses. If any question arises

as to the propriety of the removal to this Court, Purdue and the remaining properly joined

defendants request the opportunity to present a brief and oral argument in support of their

position that this case has been properly removed.

        C.      Notice of Removal

        47.     Pursuant to 28 U.S.C. § 1446(d), Purdue will give written notice of the filing of

this Notice of Removal to all parties of record in this matter, and will file a copy of this Notice

with the clerk of the state court.

                                          CONCLUSION

        WHEREFORE, Purdue hereby removes this action from the Circuit Court of Mobile

County, Alabama, to the United States District Court for the Southern District of Alabama.


        DATED: November 27, 2017

                                                 /s/ Blair G. Mattei_____________________
                                                 MICHAEL E. UPCHURCH (UPCHM2707)
                                                 BLAIR G. MATTEI (GRAFB2757)
                                                 FRAZER, GREENE, UPCHURCH &BAKER
                                                 Post Office Box 1686
                                                 Mobile, Alabama 36633
                                                 Telephone: (251) 431-6020
                                                 Facsimile: (251) 431-6030
                                                 meu@frazergreene.com
                                                 bgm@frazergreene.com




                                                 17
Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 18 of 22




                              /s/ Mark S. Cheffo_______________________
                              Mark S. Cheffo*
                              Hayden A. Coleman*
                              QUINN EMANUEL URQUHART &
                              SULLIVAN, LLP
                              51 Madison Avenue, 22nd Floor
                              New York, New York 10010
                              Tel: (212) 849-7000
                              Fax: (212) 849-7100
                              markcheffo@quinnemanuel.com
                              haydencoleman@quinnemanuel.com
                              * denotes national counsel who will seek pro hac
                              vice admission

                              Attorneys for Defendant PURDUE PHARMA
                              L.P.


                              WRITTEN CONSENT OF OTHER
                              DEFENDANTS

                              Consent to removal on behalf of Defendants
                              ENDO INTERNATIONAL PLC and ENDO
                              PHARMACEUTICALS INC.

                               /s/ Lee E. Bains, Jr.
                              MAYNARD, COPPER & GALE, P.C.
                              1901 Sixth Ave. N. Suite 2400
                              Birmingham, AL 35203
                              (205) 254-1022
                              lbains@maynardcooper.com

                              F. Grey Redditt, Jr.
                              Maynard Cooper and Gale
                              RSA Battle House Tower
                              11 N. Water Street, Suite 24290
                              Mobile, AL 36602
                              251-405-8647
                              gredditt@maynardcooper.com

                              Ingo W. Sprie, Jr.*
                              ARNOLD & PORTER KAYE SCHOLER LLP
                              250 West 55th Street
                              New York, NY 10019-9710
                              (212) 836-8000
                              Ingo.Sprie@apks.com




                               18
Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 19 of 22



                              Sean Morris*
                              ARNOLD & PORTER KAYE SCHOLER LLP
                              777 S. Figueroa Street
                              44th Floor
                              Los Angeles, CA 90017
                              (213) 243-4000
                              Sean.Morris@apks.com

                              * denotes national counsel who will seek pro hac
                              vice admission

                              Consent to removal on behalf of Defendant
                              PFIZER INC.

                               /s/ Fred M. Haston, III
                              Fred M. Haston, III
                              BRADLEY ARANT BOULT CUMMINGS LLP
                              One Federal Place
                              1819 5th Avenue N
                              Birmingham, AL 35203
                              (205) 521-8303
                              thaston@bradley.com

                              Loren H. Brown*
                              DLA PIPER
                              1251 Avenue of the Americas
                              New York, NY 10020-1104
                              (212) 335-4846
                              loren.brown@dlapiper.com
                              * denotes national counsel who will seek pro hac
                              vice admission

                              Consent to removal on behalf of Defendant KVK-
                              TECH, INC.

                               /s/ Thomas E. Rice*
                              Thomas E. Rice
                              BAKER STERCHI COWDEN & RICE LLC
                              2400 Pershing Road, Suite 500
                              Kansas City, MO 64108-2533
                              (816) 471-2121
                              rice@bscr-law.com

                              * denotes national counsel who will seek pro hac
                              vice admission




                               19
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 20 of 22



                                               Consent to removal on behalf of Defendant
                                               ZYDUS PHARMACEUTICALS (USA) INC.

                                               /s/ Arthur J, Liederman*
                                               Arthur J. Liederman
                                               MORRIS MAHONEY LLP
                                               120 Broadway
                                               New York, NY 10271
                                               (212) 428-2480
                                               aliederman@morrismahoney.com

                                               * denotes national counsel who will seek pro hac
                                               vice admission



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 27, 2017, I electronically filed the foregoing with the
Clerk of the Court and served a copy of the foregoing by electronic filing and/or by placing a
copy of same in the United States mail, properly addressed and first-class postage prepaid to the
following:

Jonathon R. Law
David A. Busby
DANIELL, UPTON & PERRY, P.C.
30421 Highway 181
Daphne, AL 36527
(251) 625-0046
jrl@dupm.com
dab@dupm.com
Attorneys for Plaintiff

C. Bennett Long
LONG & LONG
301 St. Louis Street
Mobile, AL 36602
(251) 432-2277
bennett@longandlong.com
Attorney for Plaintiff




                                               20
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 21 of 22



Lee E. Bains, Jr., Esquire
MAYNARD, COPPER & GALE, P.C.
1901 Sixth Ave. N. Suite 2400
Birmingham, AL 35203
(205) 254-1022
lbains@maynardcooper.com
Attorney for Endo International plc and Endo Pharmaceuticals, Inc.

F. Grey Redditt, Jr., Esquire
MAYNARD COOPER AND GALE
RSA Battle House Tower
11 N. Water Street, Suite 24290
Mobile, AL 36602
(251) 405-8647
gredditt@maynardcooper.com
Attorney for Endo International plc and Endo Pharmaceuticals, Inc.

Ingo W. Sprie, Jr., Esquire
ARNOLD & PORTER KAYE SCHOLER LLP
250 West 55th Street
New York, NY 10019-9710
(212) 836-8000
Ingo.Sprie@apks.com
Attorney for Endo International plc and Endo Pharmaceuticals, Inc.

Sean Morris, Esquire
ARNOLD & PORTER KAYE SCHOLER LLP
777 S. Figueroa Street
44th Floor
Los Angeles, CA 90017
(213) 243-4000
Sean.Morris@apks.com
Attorney for Endo International plc and Endo Pharmaceuticals, Inc.

Fred M. Haston, III, Esquire
BRADLEY ARANT BOULT CUMMINGS LLP
One Federal Place
1819 5th Avenue N
Birmingham, AL 35203
(205) 521-8303
thaston@bradley.com
Attorney for Pfizer Inc.




                                             21
       Case 1:17-cv-00521-KD-MU Document 1 Filed 11/27/17 Page 22 of 22



Loren H. Brown, Esquire
DLA PIPER
1251 Avenue of the Americas
New York, NY 10020-1104
(212) 335-4846
loren.brown@dlapiper.com
Attorney for Pfizer Inc.

Thomas E. Rice, Esquire
BAKER STERCHI COWDEN & RICE LLC
2400 Pershing Road, Suite 500
Kansas City, MO 64108-2533
(816) 471-2121
rice@bscr-law.com
Attorney for KVK-Tech, Inc.

Arthur J. Liederman, Esquire
MORRIS MAHONEY LLP
120 Broadway
New York, NY 10271
(212) 428-2480
aliederman@morrismahoney.com
Attorney for Zydus Pharmaceuticals (USA) Inc.

John Patrick Couch #14290-003
C/O FCI Forrest City Low
Forrest City, AR 72335

Physician Pain Specialists of Alabama, P.C.
John P. Couch #14290-003
C/O FCI Forrest City Low
Forrest City, AR 72335

C&R Pharmacy, LLC
John P. Couch #14290-003
C/O FCI Forrest City Low
Forrest City, AR 72335

Eastern Shore Neurology Clinic
C/O Rassan Tarabein Reg Ag
22341 Main Street
Fairhope, AL 36532



                                              /s/ Blair G. Mattei
                                              OF COUNSEL



                                                22
